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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


ROBERT (BOB) ROSS                           §
                                            §
VS.                                         §   ACTION NO. 4:22-CV-343-Y
                                            §
ASSOCIATION OF PROFESSIONAL                 §
FLIGHT ATTENDANTS, ET AL.                   §

                           ORDER GRANTING MOTION TO DISMISS

        Pending before the Court is the Motion to Dismiss (doc. 27) filed

by defendants Julie Hedrick, Eric Harris, and the Association of

Professional Flight Attendants ("APFA"). After consideration of the

motion, the related briefs, Plaintiff's original complaint, and the

applicable law, the Court concludes that Plaintiff's claims against

these defendants should be, and they hereby are, DISMISSED for lack

of jurisdiction.

        For the reasons urged by movants, the Court concludes that

Plaintiff has failed to demonstrate that the Court can exercise

subject-matter jurisdiction over his claims against them.               As the

party seeking to invoke the Court's jurisdiction, Plaintiff "bears

the burden of proof that jurisdiction does in fact exist." Menchaca

v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980).

Plaintiff's complaint contends that this Court can exercise federal-

question jurisdiction under 28 U.S.C. § 1331. Specifically, Plaintiff

alleges that "jurisdiction is conferred on this court by virtue of

the Fair Credit Reporting Act[,] 15 U.S.C. 1681s-2(a)(1)(A) and (B),

Fair Debt Collection Practices Act[,] 15 U.S.C. §§ 1692d, e, and f,

and the Labor Management Reporting and Disclosure Act, 29 U.S.C. 412,

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Section 102."           (Pl.'s Compl. (doc. 1) 3-4, ¶¶ 8-9.)        No other basis

for jurisdiction is alleged in Plaintiff's complaint.1

        Plaintiff has wholly failed to allege any facts, however,

adequately invoking the federal jurisdiction provided under section

102 of the Labor Management Reporting and Disclosure Act ("LMRDA").

That section provides the Court with jurisdiction over claims that

a union or its officers have improperly "fined, suspended, expelled,

or otherwise disciplined" a union member.                     See 29 U.S.C.A. §

411(a)(5), 412 (West 2018). The arbitration decision Plaintiff seeks

to vacate was obtained by two union members, however, and not by the

union or its officers.                      As a result, contrary to Plaintiff's

assertion, section 102 of the LMRDA does not provide the Court with

jurisdiction over Plaintiff's claims. See Breininger v. Sheet Metal

Workers Int'l Ass'n Local Union No. 6, 493 U.S. 67, 94 (1989)

(concluding that dismissal for lack of jurisdiction was warranted

where union member claimed that "he was the victim of the personal

vendettas of two union officers. . . . [rather than] the union as

an entity").

        And Plaintiff has apparently abandoned the contention in his

complaint that the Court can exercise jurisdiction under either the



        1
      Although Plaintiff refers to the Federal Arbitration Act in
his complaint, he does not specifically rely on it in his
jurisdictional paragraph as a basis for the Court's exercise of
jurisdiction. Nor could he, inasmuch as the Federal Arbitration
Act does not confer on federal courts an independent basis for
subject-matter jurisdiction. See Moses H. Cone Mem'l Hosp. v.
Mercury Constr. Corp., 460 U.S. 1, 25, n. 32 (1983) (citing
Comm'l. Metals Co. v. Balfour, Guthrie, & Co., 577 F.2d 264, 268-
69 (5th Cir. 1978)).
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Fair Credit Reporting or Fair Debt Collection Practices Acts.              His

response to the motion to dismiss wholly fails to address either of

these statutes.             Consequently, the Court concludes that Plaintiff

has failed to demonstrate that it can properly exercise subject-matter

jurisdiction over his claims.

        Thus, Plaintiff's claims against defendants APFA, Hedrick, and

Harris are hereby DISMISSED for lack of subject-matter jurisdiction.

This case shall proceed only as to Plaintiff's claims against

defendant McGaughey, Reber and Associates, Inc., and the APFA's

counterclaim (doc. 11).

        SIGNED October 27, 2022.

                                              ____________________________
                                              TERRY R. MEANS
                                              UNITED STATES DISTRICT JUDGE




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